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UNITED S'I`ATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

TRUSTEES OF THE NATIONAL ASBESTOS
WORKERS MEDICAL FUND, TRUSTEES OF THE
NATIONAL ASBESTOS WORKERS PENSI()N
FUND, TRUSTEES OF THE ASBESTOS WORKERS
LOCAL UNION NO. 80 SUPPLEMENTAL MEDICAL
FUND AND TRUSTEES OF THE ASBESTOS
WORKERS LOCALS 80 AND 51 SUPPLEMENTAL
PENSION PLAN

7130 Columbia Gateway Drive
Suite A

Columbia, MD 21046,

vs. C.A. No.:
CLAY’S PERFORMANCE CONSTRUCTION LLC
561 CR 7 - C

Ironton, OH 45630

Serve: Jonathan Clay, President

561 CR 7 _ C
Ironton, OH 45630

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Plaintiffs, )
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Defendant. )

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(F()R BREACH OF COLLECTIVE BARGAINING AGREEMENT,
TO COLLECT CONTRIBUTIONS DUE TO PLAINTIFF FUNDS
AND FOR BREACH OF A SETTLEMENT AGREEMENT)
Jurisdiction

1. This Court has jurisdiction of this action under Sections 502 and 515 of the
Ernployee Retirement lncome Sccurity Act of 1974, (hereafter "ERISA"), 29 U.S.C. §§ 1132 and
1145, and under Section 301 of the Labor-Management Relations Act, 29 U.S.C. § 185(a). This is

an action for breach of a Collective Bargaining Agreernent between an employer and a labor

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organization representing employees in an industry affecting commerce and an action to collect
contributions due to employee benefit plans under the terms of the Collective Bargaining
Agreement.

2. Plaintiffs are the Trustees of the National Asbestos Workers Medical Fund, Trustees
of the National Asbestos Worl<ers Pension Fund, Trustees of the Asbestos Workers Local Union
No. 80 Supplemental Medical Fund and Trustees of the Asbestos Workers Locals 80 and 51
Supplemental Pension Plan (hereinafter "NAW Funds"), multiemployer employee benefit plans as
that term is defined in Section 3(3) and 3(37) of ERISA, 29 U.S.C. § 1002(3) and (37) (as
amended). The Plaintiff Funds are established and maintained according to the provisions of the
Restated Agreements and Declarations of Trust establishing the NAW Funds (hereinafter “Trust
Agreements”) and the Collective Bargaining Agreements between Heat and Frost lnsulators Local
80 (hereinafter "the Union") and the Defendant. The NAW Funds are administered at 7130
Columbia Gateway Drive, Suite A, Columbia, MD 21046.

3. Defendant Clay’s Performance Construction LLC is a corporation existing under the
laws of the State of West Virginia With offices located in Ohio. Defendant transacts business in the
State of Ohio as a contractor or subcontractor in the sprinkler industry and all times herein was an
"employer in an industry affecting commerce" as defined in Sections 501(1), (3), 2(2) of the Labor-
Management Relations Act, 29 U.S.C. Sections 142(1), (3) and 152(2); Section 3(5), (9), (11), (12),
(14) of ERISA, 29 U.S.C. Sections 1002(5), (9), (11), (12), (14); and Section 3 of the Multi-
Employer Pension Plan Amendments of 1980, 29 U.S.C. § 1001(a).

COUNT I

4. Defendant entered into a Collective Bargaining Agreement With the Union

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establishing terms and conditions of employment for heat and frost insulators employed by the
Defendant

5. Pursuant to the Collective Bargaining Agreement, Defendant agreed to pay to the
Plaintiff NAW Funds certain sums of money for each hour worked by employees of Defendant
covered by the Collective Bargaining Agreement.

6. Defendant employed certain employees covered by the Collective Bargaining
Agreement during the period of December 2016 through the present.

7. Defendant has failed to pay complete contributions owed to the Plaintiff NAW
Funds for the months of March 2017 through May 2017 resulting in a balance of contributions
owed for those months in the amount of $256.20. Pursuant to the terms of the Collective
Bargaining Agreement, Defendant is obligated to submit report forms and pay contributions owed
to the Plaintiff NAW Funds.

8. Defendant has failed to submit reports and pay contributions owed to the Plaintiff
NAW Funds for the months of August and September 2018. Pursuant to the terms of the
Collective Bargaining Agreernent, Defendant is obligated to submit report forms and pay
contributions owed to the Plaintiff NAW Funds.

9. Defendant is bound to the Trust Agreements.

10. Pursuant to the Trust Agreements, when an employer fails to file the properly
completed report forms, in order to determine the amounts due, the Plaintiff NAW Funds are
authorized to project the delinquency amount using the following formula:

. . . The Trustees may project as the amount of the delinquency the
greater of (a) the average of the monthly payments or reports actually
submitted by the Employer for the last three (3) months for which
payments or reports were submitted or (b) the average of the monthly

payments or reports submitted by the Employer for the last twelve (12)
months for which payments or reports were submittedl

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ll. Using report forms submitted for the last three (3) months for which hours were
reported, the projected delinquency for the months of August and September 2018 is $10,227.84

calculated as follows:

 

Medical Pension Supp. Medical Supp. Pension
Month Renorted Reported Reported Regorted
l\/lay 2018 $1,455.48 $2,176.20 $524.16 $l,350.18
June 2018 $l,424.38 $2,129.70 $512.96 81,321.33
July 2018 $1,175.98 $1,757.70 $423.36 81,090.33
Monthly
Average: $1,351.95 $2,021.20 $486.83 $l,253.95

12. Defendant's contributions on behalf of its heat and frost insulator employees for
the months of December 2016 through May 2017, August 2017 through November 2017 and
.1 anuary 2018 through July 2018 Were paid late. The specific amounts paid and the date in Which
the Defendant's contributions were received by the NAW Funds are set forth on the attached
breakdown (Exhibit A).

13. Defendant's partial contributions to the Plaintiff NAW Funds owed on behalf of
its heat and frost insulator employees for the months of March 2017 through May 2017 are late
and Defendant's contributions to the Plaintiff NAW Funds owed on behalf of its heat and frost
insulator employees for the months of August and September 2018 are late.

14. The Trust Agreement establishing the Plaintiff National Asbestos Worl<ers Medical
Fund (“Medical Fund”) provides as follows:

lf an Employer fails to file reports or make contributions Within ten (10)
calendar days of the due date, there shall be added to and become a part
of the amount due and unpaid: (l) liquidated damages for each monthly
report or payment due to the Fund, in the amount of twenty percent
(20%) of the amount due or 20 dollars, whichever is greater, plus

interest at the rate of eight percent (8%) from the due date to the date of
payment; or (2) interest at the rate of l 1/2% per month; or (3) double

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interest as provided in the Act.

15. Pursuant to this provision, Defendant is obligated to the Plaintiff l\/ledical Fund in
the amount of 8462.39 in interest on the late payments for the months of December 2016 through
May 2017, August 2017 through November 2017 and January 2018 through September 2018
assessed at the rate of l‘/z% per month in accordance with the Trust Agreement and continuing to
accrue on the unpaid contributions through the date of payment

16. The 'l`rust Agreement establishing the PlaintiffNational Asbestos Workers Pension
Fund (hereinafter “Pension Fund”) provides as follows:

lf an Employer fails to file reports or make contributions within ten (10)
calendar days of the due date, there shall be added to and become a part
of the amount due and unpaid: (1) liquidated damages for each monthly
report or payment due to the Fund, in the amount of twenty percent
(20%) of the amount due or 20 dollars, whichever is greater, plus
interest at the rate of eight percent (8%) from the due date to the date of
payment; or (2) double interest as provided in the Aet.

17. Pursuant to this provision, Defendant is obligated to the Plaintiff NAW Pension
Fund for liquidated damages in the amount of 81,650.87 and interest in the amount of $526.00
assessed on the late payments for the months of December 2016 through l\/Iay 2017, August 2017
through November 2017 and January 2018 through September 2018. lnterest has been assessed on
the late paid contributions owed to the Pension Fund at the rate of 16% for the first 60 days in
which the contributions are late. If the contributions are more than 60 days late, the Plaintiff
Pension Fund has assessed liquidated damages at the rate of 20% or 20 dollars, whichever is
greater, and interest at the rate of 8% per annum. Interest will continue to accrue on the unpaid
contributions through the date of payment

18. The Trust Agreement establishing the Plaintiff Asbestos Workers Local Union No.

80 Supplemental Medical Fund (hereinafter “Supplemental Medical Fund”) provides as follows:

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lf an Employer fails to file reports or make contributions within ten (10)
calendar days of the due date, the following, in the discretion of the
Trustees, will be added to and become a part of the amount due nom
the Employer: (l) liquidated damages for each monthly report or
payment due in the amount of twenty percent (20%) of the amount due
or 20 dollars, whichever is greater, plus interest at the rate of eight
percent (8%) from the due date to the date of payment; or (2) double
interest as provided in ERISA.

19. Pursuant to this provision, Defendant is obligated to the Plaintiff Supplemental
Medical Fund for liquidated damages in the amount of 81,426.29 and interest in the amount of
$72.50 assessed on the late payments for the months of December 2016 through May 2017,
August 2017 through November 2017 and January 2018 through September 2018. Liquidated
damages have been assessed at the rate of 20% or 20 dollars, whichever is greater, and interest
has been assessed at the rate of 8% per annum. lnterest will continue to accrue on the unpaid
contributions through the date of payment

20. The Trust Agreement establishing the Plaintiff Asbestos Workers Locals 80 and 51
Supplemental Pension Plan (hereinafter “Supplemental Pension Fund”) provides as follows:

lf an Employer fails to file reports or make contributions within ten (10)
calendar days of the due date, the following, in the discretion of the
Trustees, will be added to and become a part of the amount due from
the Employer: (l) liquidated damages for each monthly report or
payment due in the amount of twenty percent (20%) of the amount due
or 20 dollars, whichever is greater, plus interest at the rate of eight
percent (8%) from the due date to the date of payment; or (2) double
interest as provided in ERISA_

21. Pursuant to this provision, Defendant is obligated to the Plaintiff Supplemental
Pension Fund for liquidated damages in the amount of 83,673.88 and interest in the amount of
8186.75 assessed on the late payments for the months of December 2016 through May 2017,
August 2017 through November 2017 and January 2018 through September 2018. Liquidated

damages have been assessed at the rate of 20% or 20 dollars, whichever is greater, and interest

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has been assessed at the rate of 8% per annum. lnterest will continue to accrue on the unpaid

contributions through the date of payment

WHEREFORE, in Count I, PlaintiffNAW Funds pray for Judgment against the Defendant
as follows:

A. ln the amount of 810,484.04 in contributions due for work performed in March
2017 through l\/lay 2017, August 2018 and September 2018, plus costs and reasonable attorneys1
fees pursuant to the Trust Agreements and 29 U.S.C. § 1132(g).

B. In the amount of $6,751.04 in liquidated damages and $l,247.64 in interest assessed
on the late payments for the months of December 2016 through l\/Iay 2017, August 2017 through
November 2017 and January 2018 through September 2018 pursuant to the Trust Agreements and
29 U.S.C. § ll32(g).

C. For all contributions, liquidated damages and interest Which become due subsequent
to the filing of this action through the date of Judgment pursuant to the Collective Bargaining
Agreement, Trust Agreements and 29 U.S.C. § ll32(g).

D. For such further relief as the Court may deem appropriate

Respectfully submitted,
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Charles W. Gilligan
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315345_1 Attorneys for Plaintiffs

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CERTIFICATE OF SERVICE

This is to certify that a copy of the foregoing Complaint has been served by certified mail,
as required by 502(h) of the Employee Retirement lncome Security Act of 1974, 29 U.S.C.
§ 1132(h) this 17th day of October, 2018 on the following:

The Office of Division Counsel

Associate Chief Counsel (TE/GE) CC: TEGE
Room 43 00

ll ll Constitution Avenue

Washington, DC 20224

Attention: Employee Plans

Secretary of Labor

200 COnstitution Avenue, N.W.

Washington, DC 20210

ATTENTION: Assistant Solicitor for
Plan Benefits Security

/s/
Charles W. Gilligan

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